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                                 CERTIFICATE OF SERVICE


       I hereby certify that I caused a true and correct copy of the foregoing THIRTIETH
 STATUS REPORT OF R. WAYNE KLEIN, RECEIVER, FOR THE PERIOD AUGUST
 1,2018 THROUGH DECEMBER 31, 2018 to be served in the method indicated below to the
 Parties in this action this 7 th day of January, 2019.



        VIA FACSIMILE                               Alan I. Edelman
        VIA HAND DELIVERY                           James II. I loll, III
        VIA U.S. MAIL                               Gretchen L. Lowe
        VIA FEDERAL EXPRESS                         U.S. Commodity Futures Trading
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